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                                                          16
                                                                                          UNITED STATES DISTRICT COURT
                                                          17                                  DISTRICT OF ARIZONA
                                                          18
                                                          19   Grand Canyon University,                   No. 2:21-cv-00177-SRB
                                                                                  Plaintiff,
                                                          20   v.                                         Plaintiff’s Motion and Supporting
                                                          21                                              Memorandum to File Select Exhibits
                                                               Miguel Cardona, et al,                     Under Seal
                                                          22
                                                          23
                                                                                   Defendants.
                                                          24
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                                                          1       Pursuant to LRCiv 5.6, Plaintiff Grand Canyon University (GCU) respectfully requests
                                                          2    that this Court enter an order sealing the unredacted copies of select documents attached
                                                          3    to GCU’s Motion for Summary Judgment and Supporting Memorandum (ECF Doc. 59).
                                                          4    GCU’s request is made upon the following information and grounds.
                                                          5                                  Relevant Procedural Background
                                                          6       On January 18, 2018, GCU filed with the United States Department of Education a
                                                          7    request for preacquisition review of a planned transaction involving the sale of Grand
                                                          8    Canyon University from its former for-profit owner Grand Canyon Education, Inc., to
                                                          9    nonprofit Gazelle University (since renamed to Grand Canyon University). With its initial
                                                          10   request for preacquisition review, as well as in response to later document requests from
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                                                          11   the Department, GCU provided sensitive business information, including Board of Trustees
                                   (602) 530-8000




                                                          12   meeting minutes, transaction documents, and valuation reports and economic studies.
                                                          13   Those documents constitute part of the Administrative Record which the Department has
                                                          14   assembled but not produced or filed with the Court.
                                                          15                                       Records At Issue
                                                          16      GCU does not contend that all documents within the Administrative Record warrant
                                                          17   protection under seal or even most. Instead, GCU’s request is limited to those documents
                                                          18   referenced in its motion for summary judgment or statement of facts that contain
                                                          19   competitively sensitive information (the Subject Documents), the disclosure of which
                                                          20   would be detrimental to GCU’s business. The Subject Documents primarily consists of
                                                          21   economic valuations and related documents that contain GCU’s financial operations
                                                          22   metrics. A description of the Subject Documents is below. For the reasons set for below,
                                                          23   good cause exists to seal the Subject Documents.
                                                          24                                       Legal Standard
                                                          25      Although courts generally recognize a presumption of public access to court records,
                                                          26   every court has inherent and supervisory powers over its own records and files. Hagestad
                                                                                                          1
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1    v. Tragesser, 49 F.3d 1430, 1433-34 (9th Cir. 1995). The presumption of public access to
2    court records is overcome when a party demonstrates important countervailing interests
3    in maintaining the confidentiality of sensitive business information. San Jose Mercury
4    News v. U.S. Dist. Ct., 187 F.3d 1096, 1102 (9th Cir. 1999). “In deciding whether sufficient
5    countervailing interests exist, the court will look to the public interest in understanding
6    the judicial process and whether disclosure of the material could result in improper use . .
7    . .” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1213 (9th Cir. 2002) (internal citations
8    omitted); see also Pintos v. Pacific Creditors Ass’n, 605 F.3d 665, 679 (9th Cir. 2010).
9                                             Argument
10      The Subject Documents contain the type of confidential and competitively sensitive
11   information that courts have deemed to warrant protection and should therefore be
12   sealed. See Rich v. Shrader, 2013 U.S. Dist. LEXIS 161850*4-5 (S.D. Cal. 2013) (permitting
13   seal of company’s financial performance metrics).
14      1. The Subject Documents include competitively sensitive financial performance
15   metrics as well as other sensitive business information. Specifically, the Subject
16   Documents primarily consists of appraisals and economic studies related to GCU’s tangible
17   personal property, real property, as well as the Master Services Agreement (MSA)
18   between GCU and Grand Canyon Education, Inc. (GCE). Those documents include sensitive
19   financial performance metrics. The Subject Documents also include the MSA and
20   Amended and Restated MSA between GCU and GCE which contains the terms of GCE’s
21   services, the services GCE provides to GCU, and other business information that could
22   harm both GCE’s and GCU’s competitive standing.
23      2. GCU has taken significant measures to prevent the Subject Documents from being
24   publicly disclosed. Although GCU was required to provide the Subject Documents to the
25   Department in support of its request for preacquisition review and its later change-in-
26   ownership application, GCU requested that the Department maintain the confidentiality

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1    of the documents and decline to disclose them to any third party under any FOIA request
2    or otherwise. AR-J-066; see also AR-J-0070 - 0072. GCU has taken similar efforts to protect
3    the Subject Documents in response to congressional inquiries. See generally AR-L-0071
4    (noting that the preacquisition review documents include trade secrets, sensitive
5    competition, and financial information and reiterating committee staff’s agreement to
6    provide advance notice and an opportunity to seek redaction prior to any potential
7    redisclosure). Finally, as to the Master Services Agreement between GCU and Grand
8    Canyon Education, Inc., a publicly traded company, we note that GCE sought confidential
9    treatment of the MSA with the Securities and Exchange Commission and filed a redacted
10   version for public release.1
11       3. Disclosure of the Subject Documents could result in improper use. The education
12   industry in which GCU operates is highly regulated and intensely competitive. Widespread
13   disclosure of the Subject Documents would provide GCU’s competitors access to crucial
14   components of the University’s business processes and would result in harm to GCU’s
15   business interests. If the Subject Documents are not sealed, GCU’s competitors would be
16   improperly provided with GCU’s strategic operational information. If disseminated, such
17   information could be utilized by GCU’s competitors to gains an unfair advantage.
18       4. Release of the Subject Documents will not serve the public interest. The Subject
19   Documents offer no intrinsic value to the public. Moreover, in most instances, GCU is
20   proposing to seal only portions of the Subject Documents, filing a redacted version in the
21   public file. The public would receive little, if any, benefit from having access to the Subject
22   Documents in their entirety. That is to say, disclosure would provide no useful insight into
23   the judicial process. On the other hand, disclosure would expose and likely result in harm
24   to GCU’s business. As a result, compelling reasons justify preventing disclosure of the
25   1
      The redacted MSA publicly released by GCE is available at
26   https://www.sec.gov/Archives/edgar/data/1434588/000119312518322557/d617676dex10
     8.htm.
                                                   3
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1    Subject Documents and those compelling reasons outweigh the public interest in
2    disclosure.
3                                           Conclusion
4       Compelling reasons support this request to seal the Subject Documents. The Subject
5    Documents contain GCU’s confidential information and trade secrets. Indeed, GCU’s
6    business interests are exposed to significant harm if the Subject Documents are not sealed.
7    Moreover, the public’s interest in the Subject Documents does not outweigh the
8    compelling reasons to seal the Subject Documents in this instance. For these reasons, GCU
9    respectfully requests that the Court enter an order sealing the unredacted copies of the
10   following Exhibits to GCU’s Motion for Summary Judgment: ECF Doc. Nos. 59-6, 59-8, 59-
11   9, 59-10, 59-11, 59-12, 59-13, 59-14, 59-15, 59-16, 59-18, 59-19, 59-20, 59-21, 59-27, 59-
12   28, 59-37, 59-39, 59-40, 59-42, 59-43, 59-58, 59-59, 59-62.
13          Dated this May 16, 2022.
14
15                                                   Respectfully submitted,

16
                                                     /s/Steven M. Gombos
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24                                                   Counsel for Plaintiff

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2
                                        Certificate of Service
3
        I certify that on May 16, 2022, I electronically filed this Motion using the Court’s
4
     CM/ECF system.
5
6                                                     /s/ Steven M. Gombos
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